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EXHIBIT A

(TO NOTICE GF MOTION; MOTION TO SUPPRESS EVIDENCE;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
TODD CHRISTIAN HARTMAN; DECLARATION OF COUNSEL;

EXHIBITS A-C)
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EXHIBIT B

(TO NOTICE OF MOTION; MCTION TO SUPPRESS EVIDENCE;
MEM()RANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
TODD CHRISTIAN HARTMAN; DECLARATION OF COUNSEL;

EXHIBITS A-C)
U.S. v. T odd Christian Hartman

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EXHIBIT C

(TO NOTICE OF MOTION; MGTION TO SUPPRESS EVIDENCE;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATI()N OF
TODD CHRISTIAN HARTMAN; DECLARATION OF COUNSEL;

EXHIBITS A-C)
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